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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                            CASE NO.: 1:21-cv-20706-GAYLES/TORRES

  MEUDY ALBÁN OSIO in her personal capacity
  and in her capacity as the personal representative
  of the Estate of FERNANDO ALBERTO ALBÁN,
  FERNANDO ALBÁN OSIO, and MARIA FERNANDA
  ALBÁN OSIO,

          Plaintiffs,
  v.

  NICOLAS MADURO MOROS; FUERZAS
  ARMADAS REVOLUCIONARIAS DE COLOMBIA
  (“FARC”); THE CARTEL OF THE SUNS A.K.A.
  CARTEL DE LOS SOLES; VLADIMIR PADRINO
  LOPEZ; MAIKEL JOSE MORENO PEREZ; NESTOR
  LUIS REVEROL TORRES; and TAREK WILLIAM
  SAAB,

        Defendants.
  ___________________________________/

                                                   ORDER

          THIS CAUSE comes before the Court on Chief Magistrate Judge Edwin G. Torres’s

  Report and Recommendation (the “Report”), [ECF No. 89], regarding Plaintiffs’ Motion for

  Default Judgement Against the Individual Defendants 1 and FARC (the “Motion”), [ECF No. 70].

  On April 3, 2023, the Court granted Plaintiff’s Motion for Referral of Pending Motion [ECF No.

  70] for a Default Judgment Against the Individual Defendants and FARC. [ECF No. 80]. The

  Court subsequently referred the Motion to Judge Torres’, pursuant to 28 U.S.C. § 636(b)(1)(B),

  for a ruling on the Motion. Id. On July 19, 2023, Judge Torres issued his Report recommending




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   The Individual Defendants are Nicolás Maduro Moros, Vladimir Padrino Lopez, Maikel Jose Moreno Perez, Nestor
  Luis Reverol Torres, and Tarek William Saab.
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  that Plaintiff’s Motion be granted and Judgment entered. [ECF No. 89]. No objections were filed

  by either party.

         A district court may accept, reject, or modify a magistrate judge’s report and

  recommendation. 28 U.S.C. § 636(b)(1). Those portions of the report and recommendation to which

  objections are made are accorded de novo review, if those objections “pinpoint the specific findings

  that the party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see

  also Fed. R. Civ. P. 72(b)(3). Any portions of the report and recommendation to which no specific

  objections are made are reviewed only for clear error. Liberty Am. Ins. Grp., Inc. v. WestPoint

  Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc.,

  208 F. App’x 781, 784 (11th Cir. 2006).

         Having reviewed the Report for clear error, the Court agrees with Judge Torres’s well-

  reasoned analysis and conclusion that the Motion should be granted. Accordingly, it is ORDERED

  AND ADJUDGED as follows:

         1.      Chief Magistrate Judge Edwin G. Torres’s Report and Recommendation, [ECF No.

                 89], is AFFIRMED AND ADOPTED and incorporated into this Order by

                 reference.

         2.      Plaintiff’s Motion for Default Judgement Against the Individual Defendants and

                 FARC, [ECF No. 70], is GRANTED.

         3.      In accordance with Federal Rule of Civil Procedure 58, final judgment shall be entered

                 separately.

         DONE AND ORDERED in Chambers at Miami, Florida, this 4th day of August, 2023.


                                                ________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE

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